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* Attach additional pages as needed.

Date G/ | [ AOD

| Signature but Mee L
~-PrintName = _Shan! Aaa MeCa//
Address [3205 taux Pal # (3/3
City, State, Zip Da [ as Ty Tod
Telephone 4A ~ 42D ~ gx]

 
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Preliminary Forensic Audit Report

Performed by: K’in Way Xi

Nu Ways LLC - a Loan Fraud Investigations Association

Name of Requester: Shani McCall

Issue: Instrument:

Sources: Original Loan Documents, www.secinfo.com, www.fag.org Flagship Credit Acceptance Indenture instrument

64830GAB2 CUSIP

This report is made to show that the Entity (FLAGSHIP CREDIT ACCEPTANCE) requesting Payment is Not the Legally
Current or Original Creditor or Holder in Due Course of the Contract that gave rise to any claim, has no Interest, No Tax
responsibility, and thus cannot enforce the alleged debt. For this Entity To elect that they can enforce payment based on
the rules in this State and the federal laws they must answer the Fair Debt Collection Practice Act Interrogatives and prove
they are a holder in due course of an enforceable contract. .

AUDIT-INFORMATION CONCERNING CONTRACT ~(See Exhibit A)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Original Creditor-Holder in Due Course NONE

SPV-Issuing Entity-Certificate Holders

Private Trustee Claimant FLAGSHIP CREDIT ACCEPTANCE
Trustee FLAGSHIP CREDIT CORPORATION
CUSIP instrument # 64830GAB2

CEO Michael Ritter

Original Loan Number 62041442841661001

Altered Fraudulent Loan Number-Actual Security 44740381001

Obligation Number Investors of FLAGSHIP CREDIT

ACCEPTANCE

initial Transaction Date 5/17/2019

EIN 273237099

Investment Contributions Deductible

Grantor/Investor Merrill Lynch Mortgage

Grantee N/A

TILA Violations Occurred? Yes

 

 

Auditors Claims of Financial illegality & Fraud and Merits to Void Contract

All of the above mentioned entities have committed fraud in contract securities, material alteration of securities without
authority, conversion, illegality, and violation of the fair debt collection practices act.
The parties who are making claims (FLAGSHIP CREDIT ACCEPTANCE) are not the holder in due course of any

enforceable contract.

Pursuant to Title 18 USC § 472 & 473 in Re w-4 Form w-8 Form 56 Entities have issued a series of fraudulent securities

violating the following law,

“Uttering counterfeit obligations or securities, “Whoever, with Intent to defraud, passes, utters, publishes, or sells, or

attempts to pass, utter, publish, or sell, or wi

any falsely made. forged, counterfeited, or altered obli

like intent brings into the Uni

ession or conceals
inder this

States or k i
ion or other security of the United States, shall be fin

title or imprisoned not more than 20 years, or both”. Stated also in Title 18 USC § 473 Dealing in counterfeit obligations or

securities, “Whoev
ligation or other security of the United

s. sells, exchanges, transfers, receives, or delivers any false
‘es, with the intent that the sam

interfeited. or altered
ublished, or used as true and

genuine, shall be fined under this title or imprisoned not more than 20 years, or both.”.
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4. If the entity (FLAGSHIP CREDIT ACCEPTANCE) cannot provide proof of standing and answer Fair Debt Collection
Practice Interrogatives and standing as a holder in due course as expressed in State law (PACS Title 13 sec 3302), then it
has no interest, no equity, no claim, and all instruments bearing such claims are fraudulent and void unless they are
disclosed as an origina! instrument or contract from the holder in due course.

5. The account number (06053601001) is actually an account number for investors in FLAGSHIP CREDIT ACCEPTANCE
and does not bear the name of (Shani McCall) and (Shani McCall) has no document of obligation to FLAGSHIP CREDIT
ACCEPTANCE or the investors.

6. The Laws of the Consumer Credit Protection and Fair Debt Collection Practices Act are all applicable.

7. The Jaw that substantiates this request is USC 15 section 1692G section (a) clause 2 a) Notice of debt; contents

Within five days after the initial communication with a consumer in connection with the collection of any debt, a debt collector shall,
unless the following information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing—

(2) the name of the creditor to whom the debt is owed;

8. This Debt is Officially disputed according to federal and State law, stated at: USC 15 section 1692G section (b) Disputed
Debts:

(b) Disputed debts

If the consumer notifies the debt collector in writing within the thirty-day period described in subsection (a) of this section that the
debt, or any portion thereof, is disputed, or that the consumer requests the name and address of the original creditor, the
debt collector shall cease collection of the debt, or any disputed portion thereof, until the debt collector obtains verification
of the debt or a copy of a judgment, or the name and address of the original creditor, and a copy of such verification or
judgment, or name and address of the original creditor, is mailed to the consumer by the debt collector

9. USC 15 Section 1692K Civil Liability -

a) Amount of damages

Except as otherwise provided by this section, any debt collector who fails to comply with any provision of this subchapter with
respect to any person is liable to such person in an amount equal to the sum of—

(1) any actual damage sustained by such person as a result of such failure;

10. The Debt Collector may NOT take any unfair and nonjudicial Action based on Federal law, which states,

USC 15 section 1692 (f) A debt collector may not use unfair or unconscionable means to collect or attempt to collect any debt.
Without limiting the general application of the foregoing, the following conduct is a violation of this section:

(6) Taking or threatening to take any nonjudicial action to effect dispossession or disablement of property if—

(A) there is no present right to possession of the property claimed as collateral through an enforceable security interest;

B) there is no present intention to take possession of the property; or

(C) the property is exempt by law from such dispossession or disablement.

| hereby certify that the foregoing information is True and Accurate to the Best of my Research as a Financial Auditor. |
attest my signature under penalty of perjury reserving all rights in case of any mistakes or inaccuracies concerning the
publically available information that is provided in regards to the above transaction.

(K’in Way Xi) electronic Signature

Auditor Authentication

Made Pursuant to USC 26 1746
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Freedom of Information Request & Request for Affidavit Certifying Affirmation of Statutory

Obligation made to
Name of Financial Institution: FLAGSHIP CREDIT ACCEPTANCE
Name of Trustees, Beneficial Owners etc: FLAGSHIP CREDIT CORP.
Name of CEO Director: Michael Ritter

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The purpose of this Freedom of Information request is for the Director(s) of this Financial institution and Actual Owner Institutions
who are under oath and obligation to United States Laws and statute to provide a copy of the original contract (Authenticum)
Pursuant to (Carpenter vs. Logan 83 U.S. 271) certifying that they are the actual holder of the original instrument of question and
are willing to have it inspected for authenticity in regards to alleged account number # 630631**** Shani A Mccall under CUSIP
Number _64830GAB2__ and to provide an Affidavit Certifying their Affirmation that they followed all applicable Federal,
State, and contract law in carrying out the alleged contract of note Account # 630631*"* Shani A Mccall to satisfy the requester
that this Financial entity is operating within the bounds of the law that the Financial entity is subject to and that they have a
legitimate claim as an Creditor and Holder in Due Course.

Specifically the Law includes the National Bank Act also known as the National Currency Act The Consumer Credit Protection
Act, The Fair Debt Collections Practices Act, The Fair Credit Reporting Act, the Truth in Lending Act and any and ail laws
applicable to Financial Institutions whether they be federal, state, or contractual (commercial) laws.

| am officially requesting the following:

1) You produce the original contract (for Inspection), front and back pages, with my original signature (no copies) in respect to
the alleged contract and state for the record who the alleged original creditor was or Current holder of Original Contract is based
on the preceding law

2) Provide an Affidavit Certifying that you did not breach any federal state contractual commercial or official oath or laws in
carrying out the alleged contract and associated transactions

3) Certify that you did not unlawfully without my consent use my signature to materially alter, falsely endorse, stamp of convert
any contract bearing my name or signature, into a security, in order to convert my contract into assets, or gain assets from a third
party. You MUST Certify and prove that you are an actual LENDER and that you did not commit any action that would preclude
that you used my identity in a fraudulent or illegal manner in Violation of Law and (FEDERAL TRADE COMMISSION (FTC)
Policy, yourself or in collusion with a third party or additional parties.

You are bound by law to provide this information upon a request pursuant to FOIA USC 5 section 552 and the Fair Debt
Collections Practices Act along with the aforementioned laws

Said Directors, Managers, Supervisors, and Employees in the name of Name of Financial Institution: ELAGSHIP CREDIT
ACCEPTANCE allegedly executed a contract with the requester and itis affirmed by requester that they violated the law in
their actions of alleging the requester owes them a debt.

[Receiver Name]

{Business Correspondence Address]

City, State Zip

Name of Agent Authorizing Transaction:

Title of Agent

Date

Bureau/ Agency of the Department

if Needed: Reason based on Internal Policy and or Laws and Statutes for Rejection of

Request

 
* . Case 3:20-cv-02744-C-BT Document 2 Filed 09/01/20 Page 6of36 PagelD 8

“*lf you are willing to settle this manner with complete removal of this alleged debt please respond with the appropriate offer and
| will hold all parties harmless after complete voiding of the alleged clain***
Signature of Agent
County: State:
Sworn and Subscribed before me. this [day]
[year]

 

 

[month] _______

 

 

Notary Signature
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Freedom of Information Request For SEC Registration Status & Securitization Inquiry
Name of Financial Institution: FLAGSHIP CREDIT ACCEPTANCE
Name of Trustees, Beneficial Owners etc: FLAGSHIP CREDIT CORP.
Name of CEO Director. Michael Ritter

 

The purpose of this Freedom of Information request is for the Director(s) of this Financial Institution and Actual Owner Institutions
who are under oath and obligation to United States Laws and statute to provide information from their SEC files or from the files
of their Parent Company in reference to alleged account number # _630631**** Shani AMecall

This demand is made to satisfy the requester that this Financial entity is operating within the bounds of the law that the Financial
entity is subject to and that they have a legitimate claim and interest in respect to the contract-note-security-bond in accordance
with all applicable law.

Specifically the Law includes the National Bank Act also known as the National Currency Act The Consumer Credit Protection
Act, The Fair Debt Collections Practices Act, The Fair Credit Reporting Act, the Truth in Lending Act and any and all laws
applicable to Financial Institutions whether they be federal, state, or contractual (commercial) laws.

| am officially requesting the following:
1) Please provide the name of any parent companies that this financial institution is operating in contract with in respect to
the claim herein
2) Please provide the EIN number and CUSIP number of this company/corporation/financial institution
3) Please provide an affidavit stating that you have enforceable payment interest in the contract account #§30631*"**
Shani AMccail_based on SEC files including all prospectuses 10-K registrations 8-K registrations and all other SEC
documents pertaining to the above mentioned claim
4) Please provide documents pertaining to any stock, securities, bonds etc associated with this specific account number.
5) Provide an Affidavit Certifying that you did not breach any federal state contractual commercial or official oath or laws
in carrying out the alleged contract and associated transactions
6) Certify that you did not unlawfully without my consent use my signature to materially alter, falsely endorse, stamp of
convert any contract bearing my name or signature, into a security, in order to convert my contract into assets, or gain
assets from a third party. You MUST Certify and prove that you are an actual LENDER and that you did not commit
any action that would preclude that you used my identity in a fraudulent or illegal manner in Violation of Law and
(FEDERAL TRADE COMMISSION (FTC) Policy, yourself or in collusion with a third party or additional parties.
You are bound by law to provide this information upon a request pursuant to FOIA USC 5 section 552 and the Fair Debt
Collections Practices Act along with the aforementioned laws
Said Directors, Managers, Supervisors, and Employees in the name of Name of Financial Institution:__ FLAGSHIP CREDIT

ACCEPTANCE allegedly executed a contract with the requester and it is affirmed by requester that they violated the law in
their actions of alleging the requester owes them a debt.

[Receiver Name]

[Business Correspondence Address]

City, State Zip

Name of Agent Authorizing Transaction:

Title of Agent:

Date

Bureau/ Agency of the Department

If Needed: Reason based on Internal Policy and or Laws and Statutes for Rejection of
Request,

 

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“*If you are willing to settle this manner with complete removal of this alleged debt please respond with the appropriate offer and
| will hold all parties harmless after complete voiding of the alleged claim™*
Signature of Agent:
County State
Swom and Subscribed before me. this fday]__._ == [month].
[year]

 

Notary Signature.

 
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INTERROGATIVES Depositions for Disclosure & Discovery
ALLEGED DEBT COLLECTORICREDITOR DISCLOSURE STATEMENT
Re “Offer of Performance”

This statement and the answers contained herein may be used by the Issuer & Maker, if
necessary, in any court of competent jurisdiction

Respondent’s Interrogatives for Alleged Creditor

Notice: This Debt Collector/Creditor Disclosure Statement is not a substitute for, nor the equivalent of, the
hereinabove-requested verification of the record, i.e. “Confirmation of correctness, truth, or authenticity, by affidavit, oath, or
deposition” (Black's Law Dictionary, Sixth Edition, 1990), re the alleged debt, and must be completed in accordance with the Fair
Debt Collection Practices Act, 15 USC § 1692g and the Freedom of Information Act 5 USCA § 552, applicable portions of Truth
in Lending (Regulation Z), 12 CFR 226 Contract Disclosure and UCC 1-207, and demands as cited above in Offer of
Performance. Debt Collector/Creditor must make all required disclosures clearly and conspicuously in writing re the following:

NAME OF ALLEGED DEBT COLLECTORICREDITOR:

Correct Lawful Name of Living Being, alleged Debtor/Obligor: _ Shani A Mccall Case #630631°°""__

Are you a required to register with the United States Department of Treasury as a financial Institution?

Please provide the Documents that certify that you are a financial institution registered with the federal government through the
United States Department Of Treasury..............:cescsscscsesssessceteessessecesceeensecateaeeaeenesaesseeneesneensesaeeensaneassaesueens

Address of alleged Debtor/Obligor: ... ...........ccccsccsccsscsssscsssessescesssstecsessetsrsseseeseeenecnenteeeetenenses

Alleged Account Number: #HBHBHHE oo... ccccscccccecseeseteesseneceetseceeeeeteetaeeneenscaeeeesaeeseesdassuauaaseneeuseusensenssneneseseessess
Alleged debt owed: $ SHBHE 0... cccssccscssssssssssssessssecssssssssscsssaesesseesenecsesneceecscarecaavsesseeaessaasecaesatenesatenesoas

Date alleged debt became payable: ...........ccccscccsccecctecsessssceesensestensaeesseesaeeeaecaesneesseesacecaseeecanenaesdeeseteseseaeestey
What is the name and address of the alleged Original Creditor who actually provided funds to the alleged Debtor/Obligor, if
different from alleged Debt Collector/Creditor?

If Debt Collector/Creditor is different from alleged Original Creditor, does Debt Collector/Creditor have a bona fide affidavit of
assignment the signature of the alleged Debtor/Obligor as an assignment for entering into alleged original contract between
alleged Original Creditor and alleged Debtor/Obligor?

YES NO

Did Debt Collector/Creditor purchase this alleged account from the alleged Original Creditor? YES NO N/A (Not Applicable)
Are you the holder of the Original note/contract?

Are you the holder in due course of the Original Note and or Contract and if so please provide front and back copies of the
original contract and or note

If applicable, give the date of purchase of this alleged account from alleged Original Creditor, purchase amount, and a copy of
the original transaction:

 

 
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16. Did Debt Collector/Creditor purchase this alleged account from a previous debt Collector/Creditor? YES NO N/A
17. If applicable, date of purchase of this alleged account from previous debt Collector/Creditor, purchase amount, and a copy of the
original transaction:

 

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18. Regarding this alleged account, Debt Collector/Creditor is currently the:

(a) Owner, (b) Assignee; (c) Other-explain: 0.0... ccc cceeseneenecnseeseersesesessnteesssasseneetieeeseesseseusesssnstiessasesnvensaees

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16. If applicable, transfer of rights re this alleged account was executed by the following method:

(a) Assignment; (b) Negotiation; (c) Novation; (d) Other - explain: oo... eee eeeeercesresseeeiecesseseeressseerseesenenens

17. If the transfer of rights re this alleged account was by assignment, was there consideration? YES NO NA
18. What is the nature and cause of the consideration cited in #17 ADOVE? «0... cece ceeceetsestessscetseesseestseesseresnesneenvaees

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19. If the transfer of rights re this alleged account was by negotiation, was the alleged account taken for value?

 
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YES NO N/A
20. Whatis the nature and cause of any value cited in #19 aDOVE? ooo... cess eneeetetreecteeeeeeesensneteaeeaeeuseneecatenaes

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21. If the transfer of rights re this alleged account was by novation, was consent given by alleged Debtor/Obligor? YES
NO NA

22. Whatis the nature and cause of any consent cited in #21 above?
23. Has the alleged Debt Collector/Creditor provided alleged Debtor/Obligor with the requisite verification of the alleged debt as
required by the Fair Debt Collection Practices Acf? YES NO
24. Date said verification cited above in #23 was provided alleged Debtor/Obligor with official copy and certification that it was sent to
alleged Debtor/ODligor: 00.2.2... eee scesecceecesseeseteaeeeeessnsaeteeeeaeeeaceeaes
25. Was said verification cited above in #23 in the form of a sworn or affirmed oath, affidavit, or deposition?
YES NO

2. Verification cited above in #23 was provided alleged Debtor/Obligor in the form of: OATH AFFIDAVIT DEPOSITON

27. Does Debt Collector/Creditor have knowledge of any clalm(s)/Defense(s) re this alleged account? YES NO

28. Whatis the nature and cause of any claim(s)/defense(s) re this alleged ACCOUNT? ...............:cscscssssssscssrersrseesseesnenetecens

29. Does Debt Collector/Creditor receive Letter of Credit Financing from a major financial institution to run its operational
budget?

30. Please Provide the 1096 and 1098 Tax Retums for this account.

31. Please Provide the 1099 OID and the 1099 INT forms for this account

32. Are you [Alleged Creditor] the payor or the recipient on the 1099 OID forms?

33. Does this account operate as a pooling and servicer agreement?

34. Are you [Alleged Creditor] in this contract serving in the status of a pooler or servicer for the Original Lender?

35. Have you [Alleged Creditor] ever received any benefit from a third party financial institution due to the alleged contract with
the alleged obligor?

36. Have you [Alleged Creditor] ever received stocks, bonds, securities or any other commercial items from any third party
institutions in respect to the alleged contract with the obligor?

37. Are there any stocks, bonds, or securities attached to the contract between you [Alleged Creditor] and the alleged obligor?

38. If the answer to the former question is yes could you please provide the CUSIP number for the said financial instrument?

39. Is this account connected to any Trust agreements?

40. Please provide the trust account number and the name of the trust and the name of the indentured trustee, who is handling
and paying the interest on the certified securities on the Depository Trust Corporation relative to this account.

41. Is this account in any way connected to any financial and or securities fraud?

42. Please provide certified copies of the N-8A registration filed pursuant to section 8A of the Investment Company Act of
1940, the 10 K annual report, the S-3 registration statement and the S-4 prospective filed pursuant to Rule 425 (b) 5 with
the Securities and Exchange Commission under section 13 & 15 (d) of the Securities and Exchange Act of 1934 in
reference to this account and any certificated or uncertificated stocks, bonds, securities, or other financial instruments
associated with this account

43. Was alleged Debtor/Obligor provided with a loan by Debt Collector/Creditor? YES NO
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44, If the alleged Debtor/Obligor was provided with a loan does the Debt Collector/Creditor have proof that assets were
provided from the financial institution to the alleged obligor. Please provide certified copies, front and back of all
documentary proof.

45. Was alleged Debtor/Obligor sold any products/services by Debt Collector/Creditor? YES NO

46.  Whatis the nature and cause of any products/services cited above in # 29?

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47. Does there exist a verifiable, bona fide, original commercial instrument [note or contract] between alleged Debt
Collector/Creditor and alleged Debtor/Obligor containing alleged Debtor/Obligor’s bona fide signature? YES NO
48. What is the nature and cause of any verifiable commercial instrument cited above in # 31?

49. Does there exist verifiable evidence of an exchange of a benefit or detriment between Debt Collector/Creditor and alleged
Debtor/Obligor?
YES NO

50. What is the nature and cause of this evidence of an exchange of a benefit or detriment as cited above in # 33?

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51. Have any charge-offs been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

52. Have any insurance claims been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

53. _ Have any tax write-offs been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

54. Have any tax deductions been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO
Case 3:20-cv-02744-C-BT Document 2 Filed 09/01/20 Page13o0f36 PagelD 15

55. Have any valid judgments been obtained by any creditor or debt Collector/Creditor regarding this alleged acoount? YES NO

56. At the time the alleged original contract was executed, were all parties apprised of the meaning of the terms and
conditions of said alleged original contract and was full disclosure of the nature of the contract provided to the alleged obligor?
YES NO

57. At the time the alleged original contract was executed, were all parties advised of the importance of consulting a licensed
Legal professional before executing the alleged contract? YES NO

58. At the time the alleged original contract was executed, were all parties apprised that said alleged contract was a private
credit Instrument? YES NO
Debt Collector/Creditor’s failure, both intentional and otherwise, in completing/answering points “1” through “58” above and
returning this Debt Collector/Creditor Disclosure Statement, as well as providing Maker with the requisite verification validating
the hereinabove-referenced alleged debt, constitutes Debt Collector/Creditor's tacit agreement that Debt Collector/Creditor has
no verifiable, lawful, bona fide claim re the hereinabove-referenced alleged account, and that Debt Collector/Creditor tacitly
agrees that Debt Collector/Creditor waives all claims against Maker and indemnifies and holds Maker harmless against any and
all costs and fees heretofore and hereafter incurred and related re any and ail collection attempts involving the
hereinabove~~referenced alleged account.

Declaration: The Undersigned hereby declares under penalty of perjury of the laws of this State that the statements made in this
Debt Collector/Creditor Disclosure Statement are true and correct in accordance with the Undersigned’s best firsthand
knowledge and belief.

 

 

 

 

 

 

|Date: 4/21/2020 Printed name of Signatory: Shan! A Mocall |
Shani A Mccall
Official Title of Signatory Authorized Signature for Debt Collector/Creditor

Debt Collector/Creditor must timely complete and return this Debt Collector/Creditor Disclosure Statement, along with ail required
documents referenced in said Debt Collector/Creditor Disclosure Statement. Debt Collector/Creditor’s claim will not be
considered if any portion of this Debt Collector/Creditor Disclosure Statement is not completed and timely returned with all
required documents, which specifically includes the requisite verification, made in accordance with law and codified in the Fair
Debt Collection Practices Act at 15 USC § 1692, Freedom of Information Act 5 USCA § 552 et seq., and which states in relevant
part “A debt Collector/Creditor may not use any false, deceptive, or misleading representation or means in connection with the
collection of any debt,” which includes “the false representation of the character, or legal status of any debt,” and “the threat to
take any action that cannot legally be taken,” all of which are violations of law.

 

{f Debt Collector/Creditor does not respond as required by law, Debt Collector/Creditor's claim will not be considered and Debt
Collector/Creditor may be liable for damages for any continued collection efforts, as well as any other injury sustained by Maker
of this Document. Please allow thirty (30) days for processing after Respondents receipts of Debt Collector/Creditor’s response.

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Case < farmation of Cancellation of Contract By Grantor/Trustofl Primary issuer &°'P +”
Administrative Default Judgment
Made to Notary for Failure to Produce Freedom of information Request & Request for
Affidavit Certifying Affirmation of Statutory Obligation made to
Name of Financial institution/ State Corporate Entity-Department-Subdivision:
The purpose of this Affidavit is to certify that a request for a Freedom of information request was made to the above named
Corporate Entity on the date of _June 19, 2020 and the Corporate Entity and Fiduciary failed to produce the Freedom of

information request and failed to produce an Affidavit Certifying that they affirm their activities in regards to account #
630631**** Shani A Mccail were within the bounds of thelr Federal, State, contractual, and commercial statutory obligations

and oaths of record that they are bound to

In failing to provide such certification the Fiduciary_ FLAGSHIP CREDIT ACCEPTANCE __ and all agents have shown bad
faith and default in their lawful duty of record to legally verify the alleged Claim as required by law and as stated specifically in
their oaths of office which obligate them to follow the laws mentioned within those oaths and applicable Laws.

| _Shani A Mccall the affiant in this affidavit am officially executing administrative defautt to be reflected for the record along
with color of authority actions based on the following:

1) Alleged Claimant falied to produce my original signature in respect to the alleged claim/contract and failed to stale for
the record who the alleged original claimant was besed on the preceding law

2) Alleged claimant failed to provide an Affidavit Certifying that as fiduciary(s) for the institution they did not breach any
federal state contractual commercial or official oath in carrying out the alleged contracticiaim

 

 

 

3) Alleged Claimant falled to certify that they did not untawfully without my consent use my signature to provide fo or gain
assets from a third party(s) then unlawfully made a claim against me and they failed to substantiate for the record that
they did not commit any action that would preclude that they used my identity in a fraudulent or illegal manner or
converted ny true identity into a fictitious identity in collusion with a third party or additional parties.

Alleged Claimant was and is bound by law to provide this information upon a request pursuant to FOIA USC 5 section
552 and Failed to.

|_Shani A Mccall__ the affiant of record testify before this witness who is an officer of the state and a notary public who has the
lawful power to take affirmations and attestations of fact from affiants that the above Corporate Entity and its fiduciary agents
have participated in fraud along with illegal transactions in respect to their claims, have violated their oaths of Office and thus
violated federal law and subsequent state law and commercial statutes that apply.

County PY? state For AQ.
Swom and Subscribed before me this [day]. gue, ron ul

Notary Signature, —-

 
 

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USPS Tracking’ FAQs >

Track Another Package +

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Tracking Number:

70131710000184998032

Your item has been delivered and is available at a
PO Box at 11:39 am on July 27, 2020 in CHADDS
FORD, PA 19317.

i A
Y Delivered

July 27, 2020 at 11:39 am
Delivered, PO Box
CHADDS FORD, PA 19317

Get Updates v
 

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FTC Report Number:
120840885
I am a victim of Identity theft. This is my official statement about the crime.

First Name: Middle Name: Last Name:

Shani Adia Mccall

Address: Phone: Email:

3232 Briery Road 434-736-8390 IndigenousIncome@criptext.co

Keysville, Virginia 23947 m

USA

T have had the legal documentation and investigations of determining these are fraud and illegal with copies of all
documentation being submitted for court record.

 

 

 

 

Fraudulent Auto Loan or Lease
Company or Organization: FLAGSHIP CREDIT
ACCEPTANCE
Date fraud began: Date that I discovered it:
5 / 2017 6 / 2019

 

 

 

 

 

Accounts or Charges Yes, fraudulent accounts or charges appear on my credit
report

 

 

 

 

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Credit Inquiries FD/NEW AMERICAN FUNDING, USAA SAVING BANK,
FINGERHUT/WEBBANK

 

 

 

Under penalty of perjury, I declare this information is true and correct to the best of my knowledge.

I understand that knowingly making any false statements to the government may violate federal, state, or loca! criminal
Statutes, and may result in a fine, imprisonment, or both.

K'in W Xi 07/23/2020
Kin W Xi Date

Use this form to prove to businesses and credit bureaus that you have submitted an FTC Identity Theft Report to law
enforcement. Some businesses might request that you also file a report with your focal police.

Page 2 of 2

 
 

Performed by: K’in Way Xi

Nu Ways LLC - a Loan Fraud Investigations Association

Name of Requester: Shani McCall

Issue: Instrument:

Preliminary Forensic Audit Report

Sources: Original Loan Documents, www.secinfo.com, www.fag.org Flagship Credit Acceptance Indenture instrument

64830GAB2 CUSIP

This report is made to show that the Entity (FLAGSHIP CREDIT ACCEPTANCE) requesting Payment is Not the Legally
Current or Original Creditor or Holder in Due Course of the Contract that gave rise to any claim, has no Interest, No Tax
responsibility, and thus cannot enforce the alleged debt. For this Entity To elect that they can enforce payment based on
the rules in this State and the federal laws they must answer the Fair Debt Collection Practice Act Interrogatives and prove
they are a holder in due course of an enforceable contract. .

AUDIT-INFORMATION CONCERNING CONTRACT ~(See Exhibit A)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Original Creditor-Holder in Due Course NONE

SPV-Issuing Entity-Certificate Holders

Private Trustee Claimant FLAGSHIP CREDIT ACCEPTANCE
Trustee FLAGSHIP CREDIT CORPORATION
CUSIP instrument # 64830GAB2

CEO Michael Ritter

Original Loan Number 62041442841661001

Altered Fraudulent Loan Number-Actual Security 44740381001

Obligation Number Investors of FLAGSHIP CREDIT

ACCEPTANCE

Initial Transaction Date 5/17/2019

EIN 273237099

Investment Contributions Deductible

Grantor/investor Merrill Lynch Mortgage

Grantee N/A

TILA Violations Occurred? Yes

 

 

Auditors Claims of Financial lilegality & Fraud and Merits to Void Contract

All of the above mentioned entities have committed fraud in contract securities, material alteration of securities without
authority, conversion, illegality, and violation of the fair debt collection practices act.
The parties who are making claims (FLAGSHIP CREDIT ACCEPTANCE) are not the holder in due course of any

enforceable contract.

Pursuant to Title 18 USC § 472 & 473 in Re w-4 Form w-8 Form 56 Entities have issued a series of fraudulent securities

violating the following law,

“Uttering counterfeit obligations or securities,

ver, with intent to id eS, rs, publishes, or seils, or

mpts to pass, r_ publish, or sell_or with like intent brings into the United States or keeps in ession or conceals

any falsely m

raed, counterfeited, or altered obli

jon or other security of th ited States. shall be fined under this

title or imprisoned not more than 20 years, or both”. Stated also in Title 18 USC § 473 Dealing in counterfeit obligations or

securities, “Whoever buys, sells, exchanges. transfers

ives, or delivers any fals d rfeited, or altered

obligation or other security of the United States, with the intent that the same be passed, published, or used as true and

nuiné, shall be fined under this title or imprisoned not more than 20 years. or b °

genuine, shall be fined under this title or imprisoned not more than 20 years, or both,”

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4. If the entity (FLAGSHIP CREDIT ACCEPTANCE) cannot provide proof of standing and answer Fair Debt Collection
Practice Interrogatives and standing as a holder in due course as expressed in State law (PACS Title 13 sec 3302), then it
has no interest, no equity, no claim, and all instruments bearing such claims are fraudulent and void unless they are
disclosed as an original instrument or contract from the holder in due course.

9. The account number (06053601001) is actually an account number for investors in FLAGSHIP CREDIT ACCEPTANCE
and does not bear the name of (Shani McCall) and (Shani McCall) has no document of obligation to FLAGSHIP CREDIT
ACCEPTANCE or the investors.

6. The Laws of the Consumer Credit Protection and Fair Debt Collection Practices Act are all applicable.

7. The law that substantiates this request is USC 15 section 1692G section (a) clause 2 a) Notice of debt; contents

Within five days after the initial communication with a consumer in connection with the collection of any debt, a debt collector shall,
unless the following information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing—

(2) the name of the creditor to whom the debt is owed;

8. This Debt is Officially disputed according to federal and State law, stated at: USC 15 section 1692G section (b) Disputed
Debts:

(b) Disputed debts

If the consumer notifies the debt collector in writing within the thirty-day period described in subsection (a) of this section that the
debt, or any portion thereof, is disputed, or that the consumer requests the name and address of the original creditor, the
debt collector shall cease collection of the debt, or any disputed portion thereof, until the debt collector obtains verification
of the debt or a copy of a judgment, or the name and address of the original creditor, and a copy of such verification or
judgment, or name and address of the original creditor, is mailed to the consumer by the debt collector

9. USC 15 Section 1692K Civil Liability -

a) Amount of damages

Except as otherwise provided by this section, any debt collector who fails to comply with any provision of this subchapter with
respect to any person is liable to such person in an amount equal to the sum of—

(1) any actual damage sustained by such person as a result of such failure;

10. The Debt Collector may NOT take any unfair and nonjudicial Action based on Federal law, which states,

USC 15 section 1692 (f) A debt collector may not use unfair or unconscionable means to collect or attempt to collect any debt.
Without limiting the general application of the foregoing, the following conduct is a violation of this section:

(6) Taking or threatening to take any nonjudicial action to effect dispossession or disablement of property if—

(A) there is no present right to possession of the property claimed as collateral through an enforceable security interest:

B) there is no present intention to take possession of the property; or

(C) the property is exempt by law from such dispossession or disablement.

| hereby certify that the foregoing information is True and Accurate to the Best of my Research as a Financial Auditor. |
attest my signature under penalty of perjury reserving all rights in case of any mistakes or inaccuracies concerning the
publically available information that is provided in regards to the above transaction.

(Kin Way Xi) electronic Signature

Auditor Authentication

Made Pursuant to USC 26 1746
Sakinah Xi Client - S... 8/21/20, 3:16 PM
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Freedom of information Request & Request for Affidavit Certifying Affirmation of Statutory

Obligation made to
Name of Financial Institution: FLAGSHIP CREDIT ACCEPTANCE
Name of Trustees, Beneficial Owners etc: FLAGSHIP CREDIT CORP.
Name of CEO Director: Michael Ritter

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The purpose of this Freedom of Information request is for the Director(s) of this Financial Institution and Actual Owner Institutions
who are under oath and obligation to United States Laws and statute to provide a copy of the original contract (Authenticum)
Pursuant to (Carpenter vs. Logan 83 U.S. 271) certifying that they are the actual holder of the original instrument of question and
are willing to have it inspected for authenticity in regards to alleged account number # 630631**** Shani A Mccall under CUSIP
Number _64830GAB2___ and to provide an Affidavit Certifying their Affirmation that they followed all applicable Federal,
State, and contract law in carrying out the alleged contract of note Account # 630631**** Shani A Mccall to satisfy the requester
that this Financial entity is operating within the bounds of the law that the Financial entity is subject to and that they have a
legitimate claim as an Creditor and Holder in Due Course.

Specifically the Law includes the National Bank Act also known as the National Currency Act The Consumer Credit Protection
Act, The Fair Debt Collections Practices Act, The Fair Credit Reporting Act, the Truth in Lending Act and any and all laws
applicable to Financial Institutions whether they be federal, state, or contractual (commercial) laws.

| am officially requesting the following:

1) You produce the original contract (for Inspection), front and back pages, with my original signature (no copies) in respect to
the alleged contract and state for the record who the alleged original creditor was or Current holder of Original Contract is based
on the preceding law

2) Provide an Affidavit Certifying that you did not breach any federal state contractual commercial or official oath or laws in
carrying out the alleged contract and associated transactions

3) Certify that you did not unlawfully without my consent use my signature to materially alter, falsely endorse, stamp of convert
any contract bearing my name or signature, into a security, in order to convert my contract into assets, or gain assets from a third
party. You MUST Certify and prove that you are an actual LENDER and that you did not commit any action that would preclude
that you used my identity in a fraudulent or illegal manner in Violation of Law and (FEDERAL TRADE COMMISSION (FTC)
Policy, yourself or in collusion with a third party or additional parties.

You are bound by law to provide this information upon a request pursuant to FOIA USC 5 section 552 and the Fair Debt
Collections Practices Act along with the aforementioned laws

Said Directors, Managers, Supervisors, and Employees in the name of Name of Financial Institution: FLAGSHIP CREDIT
ACCEPTANCE _ allegedly executed a contract with the requester and itis affirmed by requester that they violated the law in
their actions of alleging the requester owes them a debt.

[Receiver Name]

[Business Correspondence Address]

City, State Zip

Name of Agent Authorizing Transaction:

Title of Agent

Date

Bureau/ Agency of the Department

If Needed: Reason based on Internal Policy and or Laws and Statutes for Rejection of

Request.

 
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™*lf you are willing to settle this manner with complete removal of this alleged debt please respond with the appropriate offer and
| will hold all parties harmless after complete voiding of the alleged clam**
Signature of Agent
County: State:
Sworn and Subscribed before me this [day]
fyear|___

 

 

[month]

 

Notary Signature
 

 

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Freedom of Information Request For SEC Registration Status & Securitization Inquiry
Name of Financial Institution: FLAGSHIP CREDIT ACCEPTANCE
Name of Trustees, Beneficial Owners etc: FLAGSHIP CREDIT CORP.
Name of CEO Director: Michael Ritter

 

The purpose of this Freedom of Information request is for the Director(s) of this Financial Institution and Actual Owner Institutions
who are under oath and obligation to United States Laws and statute to provide information from their SEC files or from the files
of their Parent Company in reference to alleged account number # _630631**** Shani A Mccall __

This demand is made to satisfy the requester that this Financial entity is operating within the bounds of the law that the Financial
entity is subject to and that they have a legitimate claim and interest in respect to the contract-note-security-bond in accordance
with all applicable law.

Specifically the Law includes the National Bank Act also known as the National Currency Act The Consumer Credit Protection
Act, The Fair Debt Collections Practices Act, The Fair Credit Reporting Act, the Truth in Lending Act and any and all laws
applicable to Financial Institutions whether they be federal, state, or contractual (commercial) laws.

| am officially requesting the following:
1) Please provide the name of any parent companies that this financial institution is operating in contract with in respect to
the claim herein
2) Please provide the EIN number and CUSIP number of this company/corporation/financial institution
3) Please provide an affidavit stating that you have enforceable payment interest in the contract account #§30631°""*
Shani AMccail_ based on SEC files including all prospectuses 10-K registrations 8-K registrations and all other SEC
documents pertaining to the above mentioned claim
4) Please provide documents pertaining to any stock, securities, bonds etc associated with this specific account number.
5) Provide an Affidavit Certifying that you did not breach any federal state contractual commercial or official oath or laws
in carrying out the alleged contract and associated transactions
6) Certify that you did not unlawfully without my consent use my signature to materially alter, falsely endorse, stamp of
convert any contract bearing my name or signature, into a security, in order to convert my contract into assets, or gain
assets from a third party. You MUST Certify and prove that you are an actual LENDER and that you did not commit
any action that would preclude that you used my identity in a fraudulent or illegal manner in Violation of Law and
(FEDERAL TRADE COMMISSION (FTC) Policy, yourself or in collusion with a third party or additional parties.
You are bound by law to provide this information upon a request pursuant to FOIA USC 5 section 552 and the Fair Debt
Collections Practices Act along with the aforementioned laws
Said Directors, Managers, Supervisors, and Employees in the name of Name of Financial Institution:__FLAGSHIP CREDIT

ACCEPTANCE allegedly executed a contract with the requester and itis affirmed by requester that they violated the law in
their actions of alleging the requester owes them a debt.

[Receiver Name]

[Business Correspondence Address]

City, State Zip

Name of Agent Authorizing Transaction:

Title of Agent:

Date

Bureau/ Agency of the Department

If Needed: Reason based on Internal Policy and or Laws and Statutes for Rejection of
Request

 
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“*if you are willing to settle this manner with complete removal of this alleged debt please respond with the appropriate offer and
{ will hold ail parties harmless after complete voiding of the alleged claim™*
Signature of Agent
County State
Sworn and Subscribed before me this [day]___ [month]
[year]

 

Notary Signature

 
11.

12.
13.
14.

15.

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INTERROGATIVES Depositions for Disclosure & Discovery
ALLEGED DEBT COLLECTORICREDITOR DISCLOSURE STATEMENT
Re “Offer of Performance”

This statement and the answers contained herein may be used by the Issuer & Maker, if
necessary, in any court of competent jurisdiction

Respondent’s Interrogatives for Alleged Creditor

Notice: This Debt Collector/Creditor Disclosure Statement is not a substitute for, nor the equivalent of, the
hereinabove-requested verification of the record, i.e. “Confirmation of correctness, truth, or authenticity, by affidavit, oath, or
deposition” (Black's Law Dictionary, Sixth Edition, 1990), re the alleged debt, and must be completed in accordance with the Fair
Debt Collection Practices Act, 15 USC § 1692g and the Freedom of Information Act 5 USCA § 552, applicable portions of Truth
in Lending (Regulation Z), 12 CFR 226 Contract Disclosure and UCC 1-207, and demands as cited above in Offer of
Performance. Debt Collector/Creditor must make all required disclosures clearly and conspicuously in writing re the following:

NAME OF ALLEGED DEBT COLLECTOR/CREDITOR:

DOR OEE E NO EOE NORE R EERO RECHT eR ONE DORR EOD Eam ERR EES OO EEE POSE SOBA REDS ED EES HREA OR DELO SE SDR EOOHEO DOD HERS HES SLO DS ROSH ODS EDP ED ODES EOS

Correct Lawful Name of Living Being, alleged Debtor/Obligor: _ Shani A Mccall Case #630631°""*

Are you a required to register with the United States Department of Treasury as a financial Institution?

Please provide the Documents that certify that you are a financial institution registered with the federal government through the
United States Department of Treasury............cccccecsssesscssssessssessessecerssnesseseseessecersececeeseecsecsaseaesasnasnaqeaesnes

Address of alleged Debtor/Obligor: .............ccccccccccsccssssessecsscsessessesssesscessessessesessessetsensssaseneees

Alleged Account Number: #HHHHHHE ooo... cc eecsecseseesesaecaeceeceseeneesnecneeensesneeserseceeezee bee eadandaseaneesedeassaseasseeseseeaaaes
Alleged debt owed: $ SHRHHE ccc ccccsssssssssssessessssssssscsecsessesseesesesesaucessessesuesatesesaeceeessscnasateatenenisenacarsans

Date alleged debt became payable: ..........ccscsccssssstscsccsssssseseescsesssaesenesseessesseceeeseeecaecaeesneesessnasenseesenegenessansaees
What is the name and address of the alleged Original Creditor who actually provided funds to the alleged Debtor/Obligor, if
different from alleged Debt Collector/Creditor?

If Debt Collector/Creditor is different from alleged Original Creditor, does Debt Collector/Creditor have a bona fide affidavit of
assignment the signature of the alleged Debtor/Obligor as an assignment for entering into alleged original contract between
alleged Original Creditor and alleged Debtor/Obligor?

YES NO

Did Debt Collector/Creditor purchase this alleged account from the alleged Original Creditor? YES NO NA (Not Applicable)
Are you the holder of the Original note/contract?

Are you the holder in due course of the Original Note and or Contract and if so please provide front and back copies of the
original contract and or note

If applicable, give the date of purchase of this alleged account from alleged Original Creditor, purchase amount, and a copy of
the original transaction:

 

 

 
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16. Did Debt Collector/Creditor purchase this alleged account from a previous debt Collector/Creditor? YES NO N/A
17. If applicable, date of purchase of this alleged account from previous debt Collector/Creditor, purchase amount, and a copy of the
original transaction:

 

 

 

18. Regarding this alleged account, Debt Collector/Creditor is currently the:

(a) Owner, (b) Assignee; (c) Other-explain: ...........ccccccsessscsessersccsecsececessessscnevseeaesseesaesaseassaeeecnetaeteesiesaesaeeoes

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16. if applicable, transfer of rights re this alleged account was executed by the following method:

(a) Assignment; (b) Negotiation; (c) Novation; (d) Other - explain: 0.0.0... cc ceeeesersrssessseesteesctssrescenseenesesesseetneneaeses

PEDO UO ROSE PSUR USE AED EREEEESESSUR EGG HOHPORDEEEER DED IDE EEE POEEGHSAOTEDELL DE PAROFE GROEN EEDA DEORE R POOR DER EESEDSEF ESL PAHS HSER EDR NS RE ECEGAEE OES CUNEO OSTEO EEO ES OEE

17. If the transfer of rights re this alleged account was by assignment, was there consideration? YES NO N/A
18. Whatis the nature and cause of the consideration cited in #17 ADOVE? ......... cc eecessseesseseeersceseresseenssereeeestnsennesseaees

PROC eRe R REDE E RSET EEE DERUFOUED SUES ES SOR D ESCHER ER EDAD ED DER SE GES HOE DOD AS EEL ELD C EET D EDEL ED BEATA SES ATES SPER RUSPED REELS SOO SO USES PUN USNSHAT EOE E ETA TO EEE EE AEE TE

19. If the transfer of rights re this alieged account was by negotiation, was the alleged account taken for value?
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YES NO NA
20. Whatis the nature and cause of any value cited in #19 DOVE? .0......... eessesssssssevessersessecsseverssesssesevsaeceressesentsens

PRUE EE MEERA ONE E ORDA D SRE ADDED ODED EEO SSF E AE ALE e aOR GE REDDER OSE SED SOM AE ERE E DER ELSE OS UER EMER EER ED ODE ESD ERES DED EE DED SD DIDI NASR ES DAS EDESOD HEED ES USL ESODRBLEED

21. {f the transfer of rights re this alleged account was by novation, was consent given by alleged Debtor/Obligor? YES
NO NA

22. Whatis the nature and cause of any consent cited in #21 above?
23. _ Has the alleged Debt Collector/Creditor provided alleged Debtor/Obligor with the requisite verification of the alleged debt as
required by the Fair Debt Collection Practices Act? YES NO
24. Date said verification cited above in #23 was provided alleged Debtor/Obligor with official copy and certification that it was sent to
alleged Debtor/ODligor: ............cccccsscssctsssseessseecsessensscressscereaensentecss
25. Was said verification cited above in #23 in the form of a sworn or affirmed oath, affidavit, or deposition?
YES NO

26. Verification cited above in #23 was provided alleged Debtor/Obligor in the form of: OATH AFFIDAVIT DEPOSITON

27. Does Debt Collector/Creditor have knowledge of any claim(s)/Defense(s) re this alleged account? YES NO

28. Whatis the nature and cause of any claim(s)/defense(s) re this alleged @CCOUME? «ok sete eseeeeeeseresteeeesersenesnees

29. Does Debt Collector/Creditor receive Letter of Credit Financing from a major financial institution to run its operational
budget?

30. Please Provide the 1096 and 1098 Tax Retums for this account.

31. Please Provide the 1099 OID and the 1099 INT forms for this account.

32. Are you [Alleged Creditor] the payor or the recipient on the 1099 OID forms?

33. Does this account operate as a pooling and servicer agreement?

34. Are you [Alleged Creditor] in this contract serving in the status of a pooler or servicer for the Original Lender?

35. Have you [Alleged Creditor] ever received any benefit from a third party financial institution due to the alleged contract with
the alleged obligor?

36. Have you [Alleged Creditor] ever received stocks, bonds, securities or any other commercial items from any third party
institutions in respect to the alleged contract with the obligor?

37. Are there any stocks, bonds, or securities attached to the contract between you [Alleged Creditor] and the alleged obligor?

38. If the answer to the former question is yes could you please provide the CUSIP number for the said financial instrument?

39. _|s this account connected to any Trust agreements?

40, Please provide the trust account number and the name of the trust and the name of the indentured trustee, who is handling
and paying the interest on the certified securities on the Depository Trust Corporation relative to this account.

41. {s this account in any way connected to any financial and or securities fraud?

42. Please provide certified copies of the N-8A registration filed pursuant to section 8A of the Investment Company Act of
1940, the 10 K annual report, the S-3 registration statement and the S-4 prospective filed pursuant to Rule 425 (b) 5 with
the Securities and Exchange Commission under section 13 & 15 (d) of the Securities and Exchange Act of 1934 in
reference to this account and any certificated or uncertificated stocks, bonds, securities, or other financial instruments
associated with this account

43. Was alleged Debtor/Obligor provided with a loan by Debt Collector/Creditor? YES NO

 
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44. If the alleged Debtor/Obligor was provided with a loan does the Debt Collector/Creditor have proof that assets were
provided from the financial institution to the alleged obligor. Please provide certified copies, front and back of all
documentary proof.

45. Was alleged Debtor/Obligor sold any products/services by Debt Collector/Creditor? YES NO

46.  Whatis the nature and cause of any products/services cited above in # 297

CON RE LALO TOU C Cee Rete Cece Eee GURUL ORD ULE NERS PEO R TCE SAHE GES EEG EEE PERL C dee R EAA EERE GAG AP CREE EC EEE OOS ODESSA LES EE ESE R OO EOS BOREL DESO EOE EEOC ERED ESSE EEE E EONS

47. Does there exist a verifiable, bona fide, original commercial instrument [note or contract] between alleged Debt
Collector/Creditor and alleged Debtor/Obligor containing alleged Debtor/Obligor’s bona fide signature? YES NO
48. What is the nature and cause of any verifiable commercial instrument cited above in # 317

49. Does there exist verifiable evidence of an exchange of a benefit or detriment between Debt Collector/Creditor and alleged
Debtor/Obligor?
YES NO

50. What is the nature and cause of this evidence of an exchange of a benefit or detriment as cited above in # 33?

CANE R NERO REET REC e eee R PE TED GAMA ORCA RODE REPL DOPOD PEOESATABIIDISESUB PSP SED OT DF LSS USCTOAED ESD EES RFEPESEP ESE SED SEED ELLE ES EGS ORE BULLER ESL AESELS ESTEE COREE SSS ECES ORR A ED

PER AR DEOL ERD EADAERAO HON DAA DORE OE EEO REREEEDESESC RUNDE DROS DEST OREEDESTESSF ODES ER REDRESS AG AH ERG EER EODE DED EE EGATCL SETAE OEE EO UFOS ES OOO CEOS OOD EO ESRD EE TESSSEDE DENSE EERE

51. Have any charge-offs been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

52. Have any insurance claims been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

53, _ Have any tax write-offs been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

54. Have any tax deductions been made by any creditor or debt Collector/Creditor regarding this alleged account? YES NO
 

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55. Have any valid judgments been obtained by any creditor or debt Collector/Creditor regarding this alleged account? YES NO

56. At the time the alleged original contract was executed, were all parties apprised of the meaning of the terms and
conditions of said alleged original contract and was full disclosure of the nature of the contract provided to the alleged obligor?
YES NO

57. At the time the alleged original contract was executed, were all parties advised of the importance of consulting a licensed
Legal professional before executing the alleged contract? YES NO

58. At the time the alleged original contract was executed, were all parties apprised that said alleged contract was a private
credit Instrument? YES NO
Debt Collector/Creditor’s failure, both intentional and otherwise, in completing/answering points “1” through “58” above and
returning this Debt Collector/Creditor Disclosure Statement, as well as providing Maker with the requisite verification validating
the hereinabove-referenced alleged debt, constitutes Debt Collector/Creditor’s tacit agreement that Debt Collector/Creditor has
no verifiable, lawful, bona fide claim re the hereinabove-referenced alleged account, and that Debt Collector/Creditor tacitly
agrees that Debt Collector/Creditor waives all claims against Maker and indemnifies and holds Maker harmless against any and
all costs and fees heretofore and hereafter incurred and related re any and all collection attempts involving the
hereinabove—referenced alleged account.

Declaration: The Undersigned hereby declares under penalty of perjury of the laws of this State that the statements made in this
Debt Collector/Creditor Disclosure Statement are true and correct in accordance with the Undersigned’s best firsthand
knowledge and belief.

 

 

 

[Date: 4/21/2020 Printed name of Signatory. Shani A Mccall

 

 

Shani A Mccall
Official Title of Signatory Authorized Signature for Debt Collector/Creditor

Debt Collector/Creditor must timely complete and return this Debt Collector/Creditor Disclosure Statement, along with all required
documents referenced in said Debt Collector/Creditor Disclosure Statement. Debt Collector/Creditor’s claim will not be
considered if any portion of this Debt Collector/Creditor Disclosure Statement is not completed and timely returned with all
required documents, which specifically includes the requisite verification, made in accordance with law and codified in the Fair
Debt Collection Practices Act at 15 USC § 1692, Freedom of Information Act 5 USCA § 552 et seq., and which states in relevant
part “A debt Collector/Creditor may not use any false, deceptive, or misleading representation or means in connection with the
collection of any debt,” which includes “the false representation of the character, or legal status of any debt,” and “the threat to
take any action that cannot legally be taken,” all of which are violations of law.

 

{f Debt Collector/Creditor does not respond as required by law, Debt Collector/Creditor’s claim will not be considered and Debt
Collector/Creditor may be liable for damages for any continued collection efforts, as well as any other injury sustained by Maker
of this Document. Please allow thirty (30) days for processing after Respondents receipts of Debt Collector/Creditor’s response.

 
 

Sakinah Xi Client - S... 8/26/20, 1:23 PM
Case 3:20-cv-02744-C-BT Document 2 Filed 09/01/20 Page 31of36 PagelD 33

Ed. Q

 

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USPS Tracking’ FAQs >

Track Another Package +

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Tracking Number:

70191 120000122160573

Your item has been delivered and is available at a
PO Box at 9:36 am on June 19, 2020 in CHADDS
FORD, PA 19317.

Ry Ay
Y Delivered

June 19, 2020 at 9:36 am
Delivered, PO Box
CHADDS FORD, PA 19317

Get Updates

 

about:blank : Page 1 of 1

 
Case 3:20-cv-Q2744-C-BT Document 2 Filed 99/01/20 Page 32 of 36 PagelD 34
Attn on of Cancellation of Contract By Grantor/T rustor/ Primary Issuer

Administrative Default Judgment
Made to Notary for Failure to Produce Freedom of Information Request & Request for
Affidavit Certifying Affirmation of Statutory Obligation made to
Name of Financial Institution’ State Corporate Entity-Department-Subdivision:
The purpose of this Affidavit is to certify that a request for a Freedom of information request wes made to the above named
Corporate Entity on the date of _June 19,2020 __and the Corporate Entity and Fiduciary failed to produce the Freedom of
information request and failed to produce an Affidavit Certifying that they affirm their activities in regards to account #
630631***" Shani A Mccall__ were within the bounds of their Federal, State, contractual, and commercial statutory obligations

and oaths of record that they are bound to

 

in falling to provide such certification the Fiduciary FLAGSHIP CREDIT ACCEPTANCE __and all agents have shown bad
faith and defautt in their lawful duty of record to legally verify the alleged Claim as required by law and as stated specifically in
their oaths of office which obligate them to follow the laws mentioned within those oaths and applicable Laws.

 

| _Shani A Mccall __ the affiant in this affidavit am officially executing administrative default to be reflected for the record along
with color of authority actions based on the following:

 

1) Alleged Claimant faiied to produce my original signature in respect to the alleged claim/contract and failed to state for
the record who the alleged original claimant was based on the preceding law

2} Alleged claimant failed to provide an Affidavit Certifying that as fiduciary(s) for the institution they did not breach any
federal state contractual commercial or official oath in carrying out the alleged contract/claim

3) Alleged Claimant failed to certify that they did not unlawfully without my consent use my signature to provide to or gain
assets from a third party(s) then unlawfully made a claim against me and they failed to substantiate for the record that
they did not commit any action that would preclude that they used my identity in a fraudulent or itlegal manner or
converted ny true identity into a fictitious identity in collusion with a third party or additional parties.

Alleged Claimant was and is bound by law to provide this information upon a request pursuant fo FOIA USC 5 section
552 and Fatied to.

|_Shani A Mccall___ the affiant of record testify before this witness who is an officer of the state and a notary public who has the
lewful power to take affirmations and attestations of fact from affiants that the above Corporate Entity and its fiduciary agents
have participated in fraud along with illegal transactions in respect to their claims, have violated their oaths of Office and thus
violated federal law and subsequent state law and commercial statutes that apply.

County. Px? state for 6G.

 
S... . 8/21/20, 3:16 PM
Case 3:20-cv-02744-C-BT Document 2 Filed 09/01/20 Page 33 0f 36 PagelD 35

about:blank Page 1 of 1

 
 

    

 

 

 

 

 

 

 

 

 

FTC Report Number:
120840885
I am a victim of Identity theft. This is my official statement about the crime.

First Name: Middie Name: Last Name:

Shani Adia Mccall

Address: Phone: Emall:

3232 Briery Road 434-736-8390 IndigenousIncome@criptext.co

Keysville, Virginia 23947 m

USA

I have had the legal documentation and investigations of determining these are fraud and illegal with copies of all
documentation being submitted for court record.

 

 

 

 

Accounts Mfected by the Crime
Fraudulent Auto Loan or Lease
Company or Organization: FLAGSHIP CREDIT
ACCEPTANCE
Date fraud began: Date that I discovered it:
5/2017 6 / 2019

 

 

 

 

Preudaberit Information of Credit fee

 

Accounts or Charges Yes, fraudulent accounts or charges appear on my credit
report

 

 

 

 

Page 1 of 2
Case 3:20-cv-02744-C-BT Document 2 Filed 09/01/20 Page 35 of 36 PagelD 37
Credit Inquiries FD/NEW AMERICAN FUNDING, USAA SAVING BANK,

FINGERHUT/WEBBANK

 

 

Under penalty of perjury, I declare this information is true and correct to the best of my knowledge.

T understand that knowingly making any false statements to the government may violate federal, state, or local criminal
statutes, and may result in a fine, imprisonment, or both.

Kin W Xi 07/23/2020

Kin W Xi Date

Use this form to prove to businesses and credit bureaus that you have submitted an FTC Identity Theft Report to law
enforcement. Some businesses might request that you also file a report with your local police.

Page 2 of 2
Be VY ARS WAS YY BHD VRAD EUS

 

The JS 44 civil cover She@ and ebaihed Herein etBG 1 auppeaGitlihie) Serviced SEKadings Dork LpepheanenlieDs | law, except as
provided by local rules of court. This s form, 8 the Judicial Conference of the United States in September 1974, is required for the use of lerk of Court for the
purpose of initiating the civil docket sheet. ngpoved TIONS ON NEXT PAGE OF THIS FORM.)

L (a) PLAINTIFFS DEFENDANTS

(b) County of Residence of First Listed Plaintiff Shani Adia McCall County of Residence of First Listed Defendant Flagship Credit Acceptanc
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAh r-* RT
R r ‘ Lie ic D
(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (If Known) ——-—- . 1

 

 

 

I. BASIS OF JURISDICTION (Place an “X” in One Box Only)

o1 $3 Federal Question

(U.S. Government Not a Party)

U.S. Government
Plaintiff

O2 US. Government
Defendant

O04 Diversity
(Indicate Citizenship of Parties in Item Il)

 

 

 

Pp.

 

SER a

 

 

IV. NATURE OF SUIT (lace an “x” in One Box
Cee roe

 

 

© 130 Insurance PERSONAL INJURY PERSONAL INJURY

© 120 Marine © 310 Airplane 1 365 Personal Injury -

0 130 Miller Act © 315 Airplane Product Product Liability

0 140 Negotiable Instrument Liability 0 367 Health Care/

© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury

O 151 Medicare Act 0 330 Federal Employers’ Product Liability

1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal
Student Loans 1 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability

0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |
of Veteran's Benefits 3 350 Motor Vehicle 0 370 Other Fraud

1) 160 Stockholders’ Suits 0 355 Motor Vehicle © 37) Truth in Lending

G 190 Other Contract Product Liability ( 380 Other Personal
195 Contract Product Liability {C360 Other Personal Property Damage
O 196 Franchise Injury © 385 Property Damage
0 362 Personal Injury - Product Liability
Medical Mal

 

 

PRIBONER PELL eens
Habeas Corpus:

 

(7 210 Land Condemnation

©) 440 Other Civil Rights

 

© 220 Foreclosure 441 Voting O 463 Alien Detainee
CF 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate
O 240 Torts to Land O 443 Housing/ Sentence
CF 245 Tort Product Liability Accommodations 0 530 General
290 All Other Real Property OG 445 Amer. w/Disabilities -]( 535 Death Penalty
Employment Other:
0 446 Amer. w/Disabilities -[ 1 540 Mandamus & Other
Other 0 550 Civil Rights
0 448 Education 0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

O 710 Fair Labor Standards
Act

© 720 Labor/Management
Relations

0 740 Railway Labor Act

0 751 Family and Medical
Leave Act

© 790 Other Labor Litigation

0 791 Employee Retirement
Income Security Act

(3 462 Naturalization Application
465 Other Immigration
Actions

 

 

Oy 861 HIA (1395¢f)
C) 862 Black Lung (923)

0 863 DIWC/DIWW (405(g))
0) 864 SSID Title XVI

1 865 RSI (405(g))

© 870 Taxes (U.S. Plaintiff
or Defendant)

O 871 IRS—Third Party
26 USC 7609

 

Ii. CITIZENSHIP OF PRINC ‘One Bax for Plaintt
(For Diversity Cases Only) . y)
PTF DEENO ORTHERN DIST PTF DEF
Citizen of This State 0&1 ‘0 1 Incorporated or Principal Place a4 m4
of Business In This State
Citizen of Another State G2 © 2 Incorporated and Principal Place o5 08
of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation o6 6
Foreign Country
Click here for:
625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (31 USC
0 690 Other 28 USC 157 372%a))
© 400 State Reapportionment
PROPERLY MisterR 0) 410 Antitrust
OF 820 Copyrights OD 430 Banks and Banking
0 830 Patent 0 450 Commerce
O 835 Patent - Abbreviated ©) 460 Deportation
New Drug Application [0 470 Racketeer Influenced and
O 840 Trademark Corrupt Organizations

JC) 480 Consumer Credit

0 485 Telephone Consumer
Protection Act
0 490 Cable/Sat TV
CO 850 Securitics/Commodities/
Exchange
CJ 890 Other Statutory Actions
© 891 Agricultural Acts
0 893 Environmental Matters
Of 895 Freedom of Information
Act
0 896 Arbitration
01 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
O 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

 

M1 Original (12 Removed from 3 Remanded from 1 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which yo unless diversity):

VL CAUSE OF ACTION [E= ief description o

 

VII. REQUESTED IN 0) CHECK IFTHISIS A CLASS ACTION

Failure to provide infortnation based on FOIA Use 2 Section 26

DEMAND $

lllegality, Contractual Fraud, Defendant Not a Holder of Due Course

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. Court Seal, Reiease of Title JURY DEMAND: fl Yes CINo
VII. RELATED CASE(S)
IF ANY (Bee instructions): GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOIINT APPT YING TFP TINGE MAG TINGE

 
